                                     Case 2:23-cv-01477-DAD-KJN Document 22 Filed 09/14/23 Page 1 of 4



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                              10

                              11                          UNITED STATES DISTRICT COURT FOR THE
22525 Pacific Coast Highway




                              12                              EASTERN DISTRICT OF CALIFORNIA
  Clarkson Law Firm, P.C.

     Malibu, CA 90265




                              13
                                 SUZANNE KISTING-LEUNG and AYESHA                    Case No. 2:23-cv-01477-DAD-KJN
                              14
                                 SMILEY, individually and on behalf of all other
                              15 similarly situated,
                                                                                     JOINT STIPULATION TO FILE
                              16                        Plaintiffs,                  FIRST AMENDED CLASS ACTION
                                                                                     COMPLAINT PURSUANT TO FRCP
                              17        vs.                                          15(a)(2); [PROPOSED] ORDER
                              18
                                 CIGNA CORPORATION, CIGNA HEALTH
                              19 AND LIFE INSURANCE COMPANY, and
                                 DOES 1 through 50, inclusive,
                              20                                                     Complaint Filed Date:    July 24, 2023
                                              Defendants.                            Trial Date: Not Set
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                                                 JOINT STIPULATION FOR LEAVE TO FILE FIRST AMENDED COMPLAINT
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                               1          Plaintiffs Suzanne Kisting-Leung and Ayesha Smiley, and Defendants Cigna Corporation

                               2 and Cigna Health and Insurance Company submit the following joint stipulation and request that the

                               3 Court grant Plaintiffs leave to file a First Amended Class Action Complaint pursuant to Rule 15(a)(2)

                               4 of the Federal Rules of Civil Procedure:

                               5          WHEREAS, Plaintiffs filed their Class Action Complaint in this action on July 24, 2023;

                               6          WHEREAS, Defendants filed an unopposed motion for administrative relief for extension

                               7 of time to answer, move, or otherwise respond to Complaint on August 7, 2023;

                               8          WHEREAS, the Court granted Defendants’ unopposed motion for administrative relief for
                               9 extension of time to answer, move, or otherwise respond to Complaint and set the deadline for

                              10 Defendants to file a response to Complaint by September 29, 2023;

                              11          WHEREAS, the parties have met and conferred regarding certain allegations in this
22525 Pacific Coast Highway




                              12 litigation and agreed to allow Plaintiffs to file the Fist Amended Complaint to provide additional
  Clarkson Law Firm, P.C.

     Malibu, CA 90265




                              13 details pertaining to their claims.

                              14          WHEREAS, the parties agreed that Plaintiffs shall have until October 16, 2023, to file the
                              15 First Amended Complaint.

                              16          WHEREAS, the parties agreed that Defendants shall have until November 30, 2023, to
                              17 answer, move, or otherwise respond to the First Amended Complaint.

                              18          NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED between the

                              19 parties hereto, through their respective attorneys of record, that:

                              20          1.      Plaintiffs may, pursuant to Rule 15(a)(2) of the Federal Rules of Civil Procedure, file

                              21                  an amended complaint in the form of the First Amended Complaint on or before

                              22                  October 16, 2023;

                              23          2.      Defendants’ responsive pleading shall be due on or before November 30, 2023.

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                                                 JOINT STIPULATION FOR LEAVE TO FILE FIRST AMENDED COMPLAINT
                                     Case 2:23-cv-01477-DAD-KJN Document 22 Filed 09/14/23 Page 3 of 4



                               1 Respectfully submitted,

                               2 DATED: September 14, 2023                     CLARKSON LAW FIRM, P.C.

                               3

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                                                                                Attorneys for Plaintiffs
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                                   DATED: September 14, 2023                   McDERMOTT WILL & EMERY LLP
     Malibu, CA 90265




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                              14
                                                                            By: /s/ John J. Song (as authorized on 9/13/2023)
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                                               JOINT STIPULATION FOR LEAVE TO FILE FIRST AMENDED COMPLAINT
                                     Case 2:23-cv-01477-DAD-KJN Document 22 Filed 09/14/23 Page 4 of 4



                               1                                             ORDER

                               2         The Court having reviewed the parties’ Joint Stipulation to File First Amended Class

                               3 Action Complaint pursuant to Rule 15(a)(2) of the Federal Rules of Civil Procedure, and for good

                               4 cause appearing, IT IS HEREBY ORDERED that Plaintiffs are granted leave to file the First

                               5 Amended Complaint on or before October 16, 2023.

                               6         IT IS FURTHER SO ORDERED that Defendants’ responsive pleading shall be filed on

                               7 or before November 30, 2023.

                               8         IT IS SO ORDERED
                               9

                              10 DATED:___________________, 2023
                                                                                       Honorable Dale A. Drozd
                              11                                                       United States District Judge
22525 Pacific Coast Highway




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                                                JOINT STIPULATION FOR LEAVE TO FILE FIRST AMENDED COMPLAINT
